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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                )
                                        )      CRIMINAL ACTION NO.
        v.                              )          2:20cr34-MHT
                                        )              (WO)
JAMIE JOSUHNTA RYANS                    )

                                      ORDER

    This cause is before the court on defendant Jamie

Josuhnta Ryans’s motion to continue trial.                           For the

reasons       set    forth    below,     the   court   finds    that    jury

selection       and    trial,     now    set   for   December    7,    2020,

should be continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer,       785    F.2d    1506,     1516   (11th   Cir.    1986),    the

court    is    limited       by   the   requirements     of    the    Speedy

Trial Act, 18 U.S.C. § 3161.                The Act provides in part:

    "In any case in which a plea of not guilty is
    entered, the trial of a defendant charged in
    an   information   or  indictment   with   the
    commission of an offense shall commence within
    seventy days from the filing date (and making
    public) of the information or indictment, or
    from the date the defendant has appeared
    before a judicial officer of the court in
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     which such charge is pending, whichever date
     last occurs."

§ 3161(c)(1).        The Act excludes from the 70-day period

any continuance based on "findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."          § 3161(h)(7)(A).           In     granting      such      a

continuance,       the       court   may    consider,        among    other

factors, whether the failure to grant the continuance

“would be likely to ... result in a miscarriage of

justice,” § 3161(h)(7)(B)(i), or “would deny counsel

for the defendant or the attorney for the Government

reasonable       time    necessary    for   effective        preparation,

taking    into    account      the   exercise     of   due    diligence,"

§ 3161(h)(7)(B)(iv).

     The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and defendant Ryans in a speedy

trial.      The government states that new charges against

Ryans are forthcoming, which are similar to the charge

in   this    case.       A    continuance    is    necessary         because
                                    2
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defense counsel needs time to review information on the

new charges with Ryans, and to give the parties time to

explore a possible package resolution of some or all of

the    charges.        Furthermore,       the    government       does    not

oppose the request.

                                    ***

      Accordingly, it is ORDERED as follows:

      (1)    Defendant      Jamie     Josuhnta       Ryans’s      unopposed

motion to continue trial (doc. no. 84) is granted.

      (2)    The   jury     selection     and    trial,    now     set    for

December 7, 2020, are reset for March 15, 2021, at

10:00 a.m., in Courtroom 2FMJ of the Frank M. Johnson

Jr.     United     States     Courthouse        Complex,     One    Church

Street, Montgomery, Alabama.

      (3) The motion to amend scheduling order (doc. no.

84) is left pending for the United States Magistrate

Judge.      The    magistrate       judge       is   to    hold     another

pretrial.

      DONE, this the 21st day of October, 2020.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
